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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION




 INNOMEMORY, LLC,

                               Plaintiff,                Case No. 6:22-cv-66

                 v.                                      JURY TRIAL DEMANDED

 PROCORE TECHNOLOGIES, INC.,

                              Defendant.



                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff InnoMemory, LLC (“Plaintiff” or “InnoMemory”) files this original complaint

against Defendant Procore Technologies, Inc. (“Defendant” or “Procore”) for infringement of U.S.

Patent No 7,057,960 (“the ’960 Patent”) and alleges as follows:

                                            PARTIES

       1.      Plaintiff InnoMemory is a Texas limited liability company with a principal place of

business at 106 E 6th St., Suite 900, Austin, TX 78701. Plaintiff is the owner of a large portfolio

of memory patents including the ’960 Patent.

       2.      Upon information and belief, Defendant Procore is a Delaware corporation with a

principal place of business at 6309 Carpinteria Ave, Suite 100, Carpinteria, CA 93013. Defendant

is registered to conduct business in the State of Texas having a Texas office at 221 W. 6th St. Ste.

1800, Austin, TX 78701, and may be served through its registered agent: Corporation Service

Company d/b/a CSC – Lawyers Inco., 211 E. 7th Street, Suite 620, Austin, TX 78701.
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                                JURISDICTION AND VENUE

       3.      This is an action for patent infringement arising under 35 §§ 271, et seq. This Court

has subject matter jurisdiction over this action under 28 U.S.C. §1331 and §1338(a).

       4.      This Court has specific personal jurisdiction over Defendant for the following

reasons: (1) Defendant is present within and has minimum contacts within the State of Texas; (2)

Defendant has purposefully availed itself of the privileges of conducting business in the State of

Texas; (3) Defendant has sought protection and benefit from the laws of the State of Texas; and

(4) Defendant has engaged in substantial and regular business activities within the State of Texas,

and has committed specific acts of patent infringement here, thereby giving rise to this action.

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1400(b). Defendant has

committed acts of infringement in this District and has a regular and established place of business

in this District at 221 W. 6th St., Suite 1800, Austin, TX 78701.

                                  U.S. PATENT NO. 7,057,960

       6.      U.S. Patent No. 7,057,960, titled “METHOD AND ARCHITECTURE FOR

REDUCING THE POWER CONSUMPTION FOR MEMORY DEVICES IN REFRESH

OPERATIONS” teaches a method for reducing power consumption during background operations

in a memory array with a plurality of sections comprising the steps of (i) controlling the

background operations in one or more sections of the memory array in response to one or more

control signals and (ii) presenting the one or more control signals and one or more decoded address

signals to one or more periphery array circuits of the one or more sections. See the ’960 Patent,

attached hereto as Exhibit A.

       7.      On June 6, 2006, the ’960 Patent was duly issued by the USPTO.




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       8.      Plaintiff is the current assignee of the ’960 Patent with all substantive rights in and

to the ’960 Patent, including the sole and exclusive right to prosecute this action and enforce the

’960 Patent against infringers, and to collect damages for all relevant times.

         COUNT I – DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,057,960

       9.      Defendant and its end-user customers, in violation of 35 U.S.C. § 271(a), have

directly infringed, literally or under the doctrine of equivalents, and continue to infringe method

claims of the ’960 Patent by using Procore software on computing devices that include memory

that complies with the LPDDR specification, such as the Asus ZenPad 3S with LPDDR3, to run

Procore software, and the Procore Android Application with the Asus ZenPad 3S with LPDDR3

(collectively, the “Accused Product”) that perform a method for reducing power consumption

during background operations in a memory array with a plurality of sections.

       10.     Specifically, Defendant and its end-user customers have directly infringed method

claim 1 of the ’960 Patent by using the Accused Product, at least in the manner of internal use and

testing within the United States. For example, Defendant practiced every element of method claim

1 at least when the Accused Product was developed and tested by Defendant and further when

placed into its intended operation to be used by Defendant’s customers. See Exemplary

Infringement Chart, attached as Exhibit B.

       11.     As shown in the Exemplary Infringement Chart of Exhibit B, Defendant performed

and continues to perform a method for reducing power consumption during background operations

in a memory array with a plurality of sections. This element is infringed literally, or in the

alternative, under the doctrine of equivalents. For example, Procore uses computing devices, such

as the Asus ZenPad 3S, to run Procore software (including internal use and testing by Procore as

well as use by customers and other third parties of Procore software) of their Procore Android


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Application. Further, ASUS ZenPad 3S includes LPDDR3 RAM memory based on the JEDEC

Low Power Double Data Rate 3 (LPDDR3) RAM industry standard. These memory devices

consume less power by reducing power consumption during a refresh operation ("background

operation") performed on a memory array. For example, LPDDR3 RAM works in a Self-Refresh

Mode which enables the refresh operation in selected memory banks (“plurality of sections”) of a

RAM memory (“memory array”). When RAM is in Self Refresh Mode, the refresh operation is

programmed to limit access to a portion of the memory’s array by utilizing the Partial Array Self

Refresh (PASR) Bank Mask and Segment Mask settings of the RAM. See Ex. B.

       12.     Defendant performs the step of controlling said background operations in each of

said plurality of sections of said memory array in response to one or more control signals, wherein

said one or more control signals are generated in response to a programmable address signal and

said background operations can be enabled simultaneously in two or more of said plurality of

sections independently of any other section. This element is infringed literally, or in the alternative,

under the doctrine of equivalents. For example, ASUS ZenPad 3S (with Procore software)

including LPDDR3 RAM uses mode registers MR16 and MR17. These mode registers have 8 bits

for Partial Array Self Refresh (PASR) Bank Mask settings and 8 bits for Partial Array Self Refresh

(PASR) Segment Mask settings, respectively. The bits in the MR16 and MR17 registers are

programmed to ‘0’ (unmasked) or ‘1’ (masked) (“programmable address signal”) to control refresh

operation of the entire memory within a memory bank. When a bit corresponding to a bank is

masked, a refresh operation to the entire bank is blocked in self-refresh mode. When a bit

corresponding to a bank is unmasked, a refresh operation is enabled for that bank. The bits in the

MR16 and MR17 registers are used to control the section(s) of the memory array on which the

Self Refresh operation (“background operation”) is enabled or disabled. After the address bits are


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coded in the MR16 and MR17 registers, the Self-Refresh operation is executed on the particular

sections of the memory array. Further, in LPDDR3 RAM, a SELF REFRESH command initiates

Self Refresh mode in which the device is refreshed as defined by the MR16 and MR17 registers.

The PASR Bank Mask and Segment Mask bits enable the device to control the refresh operation

in the different memory banks (“plurality of sections”) of a RAM memory chip (“memory array”).

See Ex. B.

       13.     Procore performs the step of presenting said one or more control signals and one or

more decoded address signals to one or more periphery array circuits of said plurality of sections.

This element is infringed literally, or in the alternative, under the doctrine of equivalents. For

example, LPDDR3 RAM has periphery array circuits (including but not limited to Column

Address Counter, Column Decoders, Row Decoders and I/O Bus.). These periphery circuits are

used to provide control (“control signals”) and address signals (“decoded address signals”) to the

memory banks. See Ex. B.

       14.     Plaintiff has been damaged by the infringing conduct by Defendant in an amount

to be determined at trial. Thus, Defendant is liable to Plaintiff in an amount that adequately

compensates Plaintiff for such infringement, which, by law, cannot be less than a reasonable

royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       COUNT II – INDUCED INFRINGEMENT OF U.S. PATENT NO. 7,057,960

       15.     Defendant, in violation of 35 U.S.C. § 271(b), has indirectly infringed, literally or

under the doctrine of equivalents, method claim 1 of the ’960 Patent, as outlined, by actively

inducing their customers to practice the method of claim 1 via use of the Accused Product in an

infringing manner.




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          16.      Defendant has had knowledge and notice of the ’960 Patent and the infringement

by the Accused Product since at least the filing date of this complaint. In addition, Procore

received notice of US Patent 8,826,394 (also owned by Plaintiff) in August 2021.

          17.      Despite such notice, Defendant has continued to provide the Accused Product to its

customers and, on information and belief, posted product support articles on how to best use the

Accused         Product   in   an    infringing    manner.    See    Procore    Support     Article,   at

https://support.procore.com/faq/which-tablet-device-should-i-purchase-for-using-procore.               As

such, Defendant has knowingly and intentionally encouraged and aided at least its end-user

customers to directly infringe the ’960 Patent.

          18.      Defendant’s end-user customers directly infringe claim 1 of the ’960 Patent by

using the Accused Product in their intended manner to infringe. Defendant induces such

infringement by providing the Accused Product and posting product support articles that enable

and facilitate infringement, while knowing of, or being willfully blind to the existence of the ’960

Patent.

          19.      On information and belief, Defendant specifically intends that its actions will result

in infringement of the ’960 Patent, or subjectively believes that its actions will result in

infringement of the ’960 Patent. Therefore, Defendant’s induced infringement of the ’960 Patent

is exceptional and entitles Plaintiff to recover attorney fees and costs incurred in prosecuting this

action under 35 U.S.C. § 285.

          20.      Plaintiff is entitled to recover from Defendant all damages that Plaintiff has

sustained as a result of Defendant’s infringement of the ’960 Patent, including, without limitation,

a reasonable royalty to be determined at trial.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court enter:

        a.      A judgment in favor of Plaintiff that Defendant has infringed and induced others to

                infringe the ’960 Patent;

        b.      a judgment and order requiring Defendant to pay to Plaintiff its damages, costs,

                expenses, and prejudgment and post-judgment interest for Defendant’s

                infringement of the ’960 Patent as provided under 35 U.S.C. § 284, and an

                accounting of ongoing post-judgment infringement; and

        c.      any and all other relief, at law or equity, to which Plaintiff may show itself to be

                entitled.

                                  DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.




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       DATED January 18, 2022.                        Respectfully submitted,


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                                                      ATTORNEY FOR PLAINTIFF
                                                      INNOMEMORY, LLC




                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 18, 2022, I electronically filed the foregoing document with
the clerk of the court for the U.S. District Court, Western District of Texas, Waco Division using
the electronic case filing system of the court. The electronic case filing system sent a “Notice of
Electronic Filing” to the attorneys of record who have consented in writing to accept this Notice as
service of this document by electronic means.
                                                               /s/ Stevenson Moore V
                                                               Stevenson Moore V




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